-Case 1:03-cv-01012-.]DT-STA Document 146 Filed 07/15/05 Page 1 of 4 Page,_£|'§) 161

IN THE UNITED STATES DISTRICT COURT

 

 

FOR THE WESTERN DISTRICT OF TENNESSEE 625 ,,;.]_{, 10
EASTERN DIVISION /?rb
JOHN CONNELL
AND
LUCY CONNELL,

Plaintiffs,
v. CIVIL ACTION NO. l-03-1012-T
WEBB REALTY, INCORPORATED;
JULE NANCE; BILLY N. WEBB, .]R.;
ANNA WEBB; JAMES N. MAYS;
KAY W. MAYS; and DIANNE MOORE,
Defendants.

"_¢\_»‘\_V"_¢\_W\_V\_/\_J`_/W`_¢`_/W

 

ORDER

 

On the Motion of Plaintiffs for an Order to approve Plaintiffs' John Conneil and Lucy
Connell Motion for Extension of Time to Respond to Defendants' J ames Mays and Kay Mays
Motion for Attorney Fees to August 29, 2005 Pursuant to Local Rule 7,] (a), and good cause for
Plaintiffs’ Motion for Extension ofTirne to Respond Memorandum in Response having been Shown;
therefore,

IT IS ORDERED that the Motion be granted and that the time Within which Plaintiffs may
file Response to Defendants' James Mays and Kay Mays Motion for Attorney Fees is extended and
enlarged to August 29, 2005.

*b
Dated this the [_§ Day of July, 2005.

YM, b. Q~ML

 

JAMES T'ODD
UNITE TATES DISTRICT JUDGE

This document entered on the

. docket she
with nme 53 and,'or_?s (a} FHC et fn comp"a"°°

Pon

Case 1:03-cv-01012-.]DT-STA Document 146 Filed 07/15/05

APPROVED FOR ENTRY:

/\/, / , 7 52 , _ é,,f
J R CHARLES COX, BPR# 43]5
LaW Offices Of Jerry Charles Cox
645 North Royal Street
Jackson, Tennessee 3830] -1595
Telephone: 731.427.1555

/\

/
/A?za gain
CAROL GISH, BPR# 010231
West Tennessee Legal Services, Inc.
210 West Main Street
Jackson, Tennessee 38301
Telephone: 731 .426.1309
ATTORNEYS FOR PLAINTIFFS

Page 2 of 4 Page|D 162

Case 1:03-cv-01012-.]DT-STA Document 146 Filed 07/15/05 Page 3 of 4 Page|D 163

CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true and exact copy of the above document has been
served upon the Dei"endant Dianne Moore, by hand delivery of same to the attorney for Defendant
Dianne Moore, Jennifer Craig, Waldrop & Hall, 106 S. Liberty Street, Jaekson, Tennessee 38301;
by hand delivery of same to the attorney for Defendants Webb Rea|ty Company L.L.C., Billy N.
Webb, .lr., Anna Webb, and Jule Nance, Dale Conder, 209 East Main Street, P.O. Box 1 147,
Jaekson, Tennessee 3 8302-1 147; and by hand delivery of same to the attorney for Defendants J ames
N. Mays and Kay W. Mays, Brandon O. Gibson, Pentecost, Glenn & Rudd, PLLC, 106 Stonebridge
Blvd, Jacl<;son, Tennessee 38305.

This the 15th Day of July, 2005_

%é`/

CAROL GISH, BPR# 010231
West Tennessee Legal Services, Inc.
210 West Main Street

Jackson, Tennessee 3 830]
Telephone: 731.426.1309
ATTORNEY FOR PLAINTIFFS

   

UN1TE sTATES D1STR1CT OURT WESTER D11$RCTOF TNNESEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 146 in
case l:03-CV-01012 Was distributed by faX, mail, or direct printing on
July 18, 2005 to the parties listed

 

 

Brandon O. Gibson

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jacl<son7 TN 38305

Milton Dale Conder

RAINEY KIZER REVIERE & BELL
105 S. Highland Ave.

P.O. Box 1147

Jacl<son7 TN 38302--114

Jennifer Craig
WALDROP & HALL
106 S. Liberty Street
P.O. Box 726

Jacl<son7 TN 38302--072

Donald D. Glenn

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jacl<son7 TN 38305

Carol Gish

WEST TENNESSEE LEGAL SERVICES7 INC.
210 West Main St.

Jacl<son7 TN 38301

J. C. CoX

FIELDS & COX

645 N. Royal Street
Jacl<son7 TN 38301--499

Honorable J ames Todd
US DISTRICT COURT

